EXHIBIT 36
                                  LESSON PLAN COVER SHEET

   ..._,,,
COURSE: SLC Leadership Course                                      TRAINEE LEVEL:
                                                                   Probationary Sergeants
LESSON:                                                            TIME REQUIRED:
EDP Workshop at John Jay College                                   8 Hours
PREPARED BY:                                                       DATE PREPARED:
Officer of the Deputy Commissioner of Training Det. James          October, 2008
Shanahan -Senior Instructor
APPROVED BY:                                                       DATE APPROVED:
Lt. John Donnelly                                                  November 7, 2008
REVISED BY:                                                        DATE REVISED:
Sgt. Nicole Dean                                                   June 2, 2010
TRAINING NEED
To familiarize probationary sergeants on how to interact with emotionally disturbed persons.
INSTRUCTIONAL GOAL:
At the conclusion of this lesson the probationary sergeant will be familiar with how to tactically
communicate with emotionally disturbed persons.
PERFORMANCE OBJECTIVES:

At the completion of this lesson the student will be able to:

    1. Identify symptoms which may categorize a person as an EDP.
    2. Identify and apply Patrol Guide procedures regarding non-violent custodial EDP's.
    3. Identify and explain resources for family members of ED P's.
    4. Employ proper tactics when confronting an EDP.




METHOD OF PRESENTATION                                             CLASSROOM REQUIREMENTS:
Role Play                                                          Seats
METHOD OF EVALUATION:
Instructor Critique and Clinical Evaluation
STUDENT MATERIAL:
Handouts

TRAINING AIDS, SUPPLIES, EQUIPMENT:                                BIBLIOGRAPHY:
Table, chairs, common household items                              Role playing in leadership training and
                                                                   group problem solving, Alan F Klein
                                                                   Handbook of creative learning
                                                                   exercises, Herbest M Engel, How to
                                                                   train the trainer, McGraw Hill 1997.
                                                                   NYS Instructor Handbook


                              CITY OF NEW YORK POLICE DEPARTMENT

                                                                                                  DEF 3206
LESSON: EDP WORKSHOP                                                                     INSTRUCTOR
                                                                                         CUES:



                                INTRODUCTION


    This course has a unique design, construction and application. Firstly, police
trainers review basic instruction regarding police process 1 protocol and procedure
Germane to the departments highly valued mission of providing care to persons
with emotional illness. Second, faculty members from John Jay College of
Criminal Justice who are licensed psychologists co-facilitate the training and
provide a crucial clinical underpinning to the body of work. Their vital contribution
imbues this course with credibility and advances the best practices of their
profession. Lastly, professional actors role play a variety of mental and emotional
illnesses as well as behavioral disorders that give trainees a sense of realism. This
method of instruction ha been referred to as 'structured improvisational' training.
The actor-trainers are able to recreate a variety of mental illness and emotional
disorders. They include: schizophrenia, depression, paranoia, bipolar conditions,
borderline personality disorder, as well as panic attacks. Additionally, the actor-
trainers portray family members, bystanders and other participants. The scenarios
are consistent with real experiences a Police Officer may encounter.

   The theme of this training is to promote the ability to successfully isolate and
contain an EDP while engaging in a tactically correct and tactfully sound process
designed to bring the entire episode to an equitable conchision.
                                                          I
                                                          I

   The goal is to enhance the safety of all participants while operating in a manner
that maintains professional action that is aimed at reducing civilian complaints,
lawsuits, and stress. The complexity and difficulty of dealing with ED P's is
obvious and compels trainees to seek methods of remedy: other than using physical
force. The scenarios feature the EDP's presenting conditions that define them as
dangerous to themselves or others yet, the overruling ambition of the training is to
encourage utilization of Tactical Communication Skills.
                                                          I

   Finally, and additional element that adds to the intention of this workshop is a
presentation by a representative of LifeN et. This twenty-four hour referral system is
a welcomed addition as it speaks to the reality that often we are comfortably
leaving a call of service where the individual is not an active danger to themselves
or other. LifeNet provides multilingual memo book insert that enable a UMOS to
make an onsite referral to a multitude of mental health providers.




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                                                                                                 DEF 3207
LESSON: EDP WORKSHOP                                                                    INSTRUCTOR
                                                                                        CUES:




    Instruction takes three forms: telling, showing and doing. Telling techniques are
good when the subject matter is mainly information or attitude and is not complex.
Showing is good when the subject matter if information or attitude and is complex.
Doing is appropriate when teaching mental or physical skills. However, learning
goals are best met when all three forms are utilized in conjunction with each other.
Role plays are a very good way of maximizing the three forms of instruction. As an
interactive form of learning. Role plays allow the student to exhibit and apply what
they have learned as well as provide the instructor with the means to assess the
effectiveness of the learning process. Role plays also provide an alternative to
traditional classroom instruction and allow students to practice their craft with a
more "hands-on" perspective in a protected environment. For all of these reasons,
role plays are an extremely valuable formed tool for trainers and trainees.




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                                                                                                DEF 3208
I LESSON: EDP WORKSHOP                                                                   I INSTRUCTOR
                                                                                         CUES:



    I. SCHIZOPHRENIA


Recruit officers are assigned to respond to a noise complaint at an apartment wit a
neighbor as the complainant. As the officers knock on the door, they are greeted by
a male tenant who is dismayed and hesitant to allow them entry. After gaining
entry, the officers discover that there is a women kneeling on the floor with a
makeshift "barrier" surrounding her. The woman is upset and rambling
incoherently. The officers interview the tenant and are informed that the couple is a
husband and his wife. The husband tells the officers that his wife is schizophrenic
and is refusing to take her medicine. He also tells he officers that his wife believes
that the medicine is poison and he discovered that she has been throwing the pills in
the toilet for weeks. When questioned further, he tells the officer that when not on
medication, his wife hears voices (Charlie). The husband advises the officers that
the situation has happened frequently, and the police have responded before. The
husband tells the officers about the response of two particular officers, one who
was very helpful (Flanagan) and another whose response was callous, impatient,
and as a result injured his wife (Smith). The husband asks the officers if they know
or can get Flanagan to respond. To further complicate matters, the husband is
concerned with a new job that hi is late for. Subsequent approach and conversation
with the wife, she stated that the voice is telling her to jump out of the window. She
also states that the barrier is her zone of protection from people who she believes
are trying to get her.

OBJECTIVES
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non -violent custodial EDP situation.

   •   Officers should attempt to gain voluntary compliance from the wife to allow
       them to handcuff her and transport her to the hospital using various tactical
       communication and problem solving techniques.

   •   Officer should employ their victimology skills to assist the husband with his
       employment situation and a referral to LifeNet is recommended.

MODERATOR OBJECTIVES
  • Ensure that officers utilize proper tactics in the entry and interview of the
    participants.
  • With the assistance of the clinicians, use "scene break" during the scenario
    to highlight, address, discuss and assist the officer to ensure a positive
    outcome.




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                                                                                                   DEF 3209
ILESSON: EDP WORKSHOP                                                                    I INSTRUCTOR
                                                                                         CUES:

CLINICIANS OBJECTIVES
   • Highlight and explain some of the symptoms of schizophrenia and
      behavior.
   • Recommend communication strategies.
   • Briefly explain medical diagnosis and psychological treatment.


          II. MANINMANIC

Recruit officers are assigneq to respond to a dispute at an apartment. As the officers
knock on the door, they are greeted by a woman who seems desperate and
concerned about her husband who is in another room (behind a closed door). The
woman claims that her husband has been acting erratic since the recent death of one
of his parents. The woman also tells the officers that for the past couple of days her
husband has not slept or has eaten anything. He is rambling incoherently (which is
audible through the door) and she has discovered that he has given their life savings
to a stranger, the husband believing he was buying a church. She also states that
this has never happened before and she feels helpless and does not know what to
do. During the interview with the wife. The husband walks out of the other room,
carrying a bible and wearing "priestly" clothing. His speech and mannerisms are
accelerated. His ramblings are concentrated on his belief that he is the light of god
and that he can resurrect the dead, illustrated by him telling one officer that they
can shoot or stab the other officer and he will bring them back to life. He also tests
the faith of the officers by asking if they can also see the light. Although his
mannerisms are accelerated, he does acknowledge the officers. He is compliant but
can only do what is asked of him for a brief moment. His desire is to go to a church
he believes he bought that is on Queens Boulevard. To further complicate matters,
the couple has a large dog as a pet this is locked in the bathroom, whose care
becomes a concern of the husband prior to going to the hospital.

OBJECTIVES:
   •    Officers should illustrate and understanding and compliance of Department
        Guidelines regarding non-violent custodial EDP situations.
   •    Officers should attempt to gain voluntary compliance from the husband to
        allow them to handcuff and transport him to the hospital using various
        tactical communication and problem solving techniques.
    •   Officers should employ their victimology skills to assist the wife. A referral
        to LifeNet is recommended.

MOD ERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in the entry and interview of the
     participants.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.



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                                                                                                   DEF 3210
I LESSON: EDP WORKSHOP                                                                     I INSTRUCTOR
                                                                                           CUES:

CLINICIANS OBJECTIVES:
   • Highlight and explain some of the symptoms of mania/manic and behavior.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.


        III. Bi-Polar Disorder with Psychotic features

Officers are on patrol in a large park (Central Park) when they encounter an
apparent homeless man who is screaming into a garbage can. The homeless man's
clothing is disheveled and he appears to be having a conversation with different
"invisible" persons. On approach, the officers hear the homeless man claim that he
has captured the devil and has the devil trapped in the garbage can. The officers
also observed the man holding a wooden stick over the opening of the can. When
questioned, the homeless man claims he is a reverend and his mission is to keep the
devil trapped in the garbage can. He further state that the stick was anointed by god
and is the only thing that can keep the devil in the can. The man gets extremely
agitated when anyone approaches or he believes is getting too close. The man tells
the officers that he has been on this mission for multiple days. The homeless man
speaks with the officers but refuses to leave or let go of the stick for fear of the
devil escaping. He also stated that if the devil gets out. He will have to kill himself.
During the officers' conversation with the homeless man, he gets upset when a park
patron tires to walk through the zone of safety.

OBJECTIVES:
  • Officers should illustrate and understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situation.
  • Officers should attempt to isolate and contain the EDP.
  • Officers should attempt to gain voluntary compliance from the homeless
     man to allow them to handcuff and transport him to the hospital using
     various tactical communication and problem solving techniques.

MODERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in isolating and containing the
    homeless person.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
    to highlight, address,, discuss and assist the officer to ensure a positive
    outcome.

CLINICIANS OBJECTIVE:
   • Highlight and explain some of the symptoms of Bi-Polar Disorder and
     behavior.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.




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                                                                                                     DEF 3211
LESSON: EDP WORKSHOP                                                                     INSTRUCTOR
                                                                                         CUES:




        IV. MANIA/MANIC

Officers are on patrol when they encounter two people engaged in a dispute in from
of a store. The officers separate the two individuals and try to determine the cause
of the dispute. One person tells the officer that they are the owner of the store, and
that the other person has been standing in front of his store for the past few days
rambling incoherently and scaring away customers. The store owner is concerned
that he will lose customers if the other person remains. The other person is
apparently agitated and speaking extremely rapid. The officers find it difficult to
understand what the person is saying. After listening to the person for a moment
they begin to understand the person. This person believes that she/he is a general
and that the store owner is a terrorist and is hiding explosives in the canned goods
that are in the store. The "General" believes that his/her mission is to protect the
president from this danger, and if she/he fails this mission, will have to kill
themselves. The "General" also tells the officer that she/he has a schedule to keep
in order to secure the presidents safety- at 3:00 PM they must be at the hotdog
stand in front of Bellevue Hospital, at 4:00 PM they have to be at Yankee Stadium,
at 5:00 PM they have to be at the Empire State Building. The EDP frequently asks
the officer to repeat the schedule. Although not violent, the EDP gets agitated when
the officers don't repeat the schedule correctly. The EDP becomes compliant when
the schedule is repeated correctly to him/her.

OBJECTIVES:
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situations.
  • Officers should attempt to isolate and contain the EDP.
   •   Officers should attempt to gain voluntary compliance from the store owner,
       removing him/her from the scene.
   •   Officers should attempt to gain voluntary compliance from the EDP to
       allow them to handcuff and transport them to the hospital using various
       tactical communication and problem solving techniques.


MODERATOR OBJECTNES:
  • Ensure that officers utilize proper tactics in separating and interviewing the
    persons in the dispute.
  • Ensure that officers utilize prober tactics in isolating and containing the
    EDP.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
    to highlight, address, discuss and assist the officer to ensure a positive
    outcome.


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                                                                                                 DEF 3212
LESSON: EDP WORKSHOP                                                                         INSTRUCTOR
                                                                                             CUES:


CLINICIANS OBJECTIVES:
   • Highlight and explain some of the symptoms of mania/manic and behavior.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.


         V. Borderline Personality Disorder

Officers are on patrol when they come upon a male and a female having a dispute
in from of a building. After separating the two. The officers begin their
investigation. The male tells the officer that he lives in the building and upon
corning home today saw the female (Monique) standing in front of his building.
The male state that he met Monique when he visited Boston a few weeks ago. He
tells the officer that they had a "one night stand" and although they exchanged
phone numbers, did not return any of her numerous calls. The male does not know
hoe she acquired his address, and is concerned that his wife may be corning home
soon and he does not want his wife to know what happened. The male also tell the
officer that he does not want Monique to contact him anymore. During the
interview with Monique, she confirms the encounter in Boston. Monique also
claims that their relationship is that of boyfriend and girlfriend. Monique tells the
officer that she came from Boston to surprise her boyfriend and continue their
relationship. During the interview, Monique displays a wide range of emotions.
From showing extreme anger toward he boyfriend to deep concern about him. She
claims that he is the love of her life, but is consistently flirting with the officers.
Monique also admits to self mutilation in times of despair, showing visible scars on
her forearm. After conferring with each other, the officers advise Monique that the
male does not want any contact with her and that she should leave. The officers
also tell her that if she refuses to leave or is she returns she may be subject to arrest.
Showing anger and frustration, Monique threatens suicide.

OBJECTIVES:
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situations.
  • Officers should attempt to isolate and contain the EDP.
  • Officers should attempt to gain voluntary compliance from the male,
     removing him from the scene.
  • Officers should explain options afforded to possible victims of domestic
     violence.
  • Officers should attempt to gain voluntary compliance from the EDP to
     allow them to handcuff and transport her to the hospital using various
     tactical communication and problem solving techniques.




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                                                                                                     DEF 3213
I LESSON: EDP WORKSHOP                                                                 I INSTRUCTOR
                                                                                       CUES:



MOD ERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in separating and interviewing the
     persons in the dispute.
  • Ensure that officers utilize proper tactics in isolating and containing the
     EDP.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.

CLINICIANS OBJECTIVES:
   • Highlight and explain some of the symptoms of Borderline Personality
      Disorder and behavior patterns.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.



        VI. DEPRESSION

Officers are assigned to respond to a suspicious person on a roof of a building.
When the officers arrive, they observe a person sitting on the edge of a scaffold.
Upon interviewing the person, the officers learn that the person has recently had a
personal medical/family catastrophe. The person feels emotionally and physically
drained and believes that this is the only option left for them. The person does
converse with the officer, but refuses to give them his/her name or to face the
officers. The person continuously requests the officer to leave and not to approach.

OBJECTIVES:
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situation.
  • Officer should attempt to isolate and contain EDP
  • Officers should attempt to gain voluntary compliance from the EDP to
     allow them to handcuff and transport them to the hospital using various
     tactical communication and problem solving techniques.

MODERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics and Patrol Guide procedures in
    isolating and containing EDP.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
    to highlight, address, discuss and assist the officer to ensure a positive
    outcome.




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                                                                                                 DEF 3214
LESSON: EDP WORKSHOP                                                         INSTRUCTOR
                                                                             CUES:


CLINICIANS OBJECTIVE:
   • Highlight and explain some of the symptoms of Depression and behavior
     patterns.
   • Recommend communication strategies
   • Briefly explain medical and psychological diagnosis and treatment.




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                                                                                     DEF 3215
                                  LESSON PLAN COVER SHEET

  .....,,,
COURSE:                                                              TRAINEE LEVEL:
SERGEANTS LEADERSHIP COURSE                                          NEWLY PROMOTED SERGEANTS
LESSON:                                                              TIME REQUIRED:
PATROL SUPERVISOR Session #3 "Emotionally Disturbed                  One hour
Person"
PREPARED BY:                                                         DATE PREPARED:
Lt. Patrick Devito                                                   01/10/2011
APPROVED BY:                                                         DATE APPROVED:


REVISED BY:                                                          DATE REVISED:

TRAINING NEED
To satisfy the need of the newly promoted Sergeant

INSTRUCTIONAL GOAL:
To prepare the newly promoted sergeant on the duties of the Patrol Supervisor in reference to EDPs
PERFORMANCE OBJECTIVES:

At the completion of this lesson the student will be able to:

   1. What is an EDP?
   2. What is the Zone of Safety?
   3. What are the procedures the sergeant is responsible for acting as the patrol supervisor?




METHOD OF PRESENTATION                                               CLASSROOM REQUIREMENTS:
Lecture
METHOD OF EVALUATION:
Critique
STUDENT MATERIAL:
Black pen

TRAINING AIDS, SUPPLIES, EQUIPMENT:                                  BIBLIOGRAPHY:
Handout                                                              216-05



                              CITY OF NEW YORK POLICE DEPARTMENT

                                                                                                 DEF 3228
LESSON:                                                                              INSTRUCTOR
Emotionally Disturbed Persons                                                        CUES:


                                 INTRODUCTION

Patrol supervisors will usually be called to all radio runs of an emotionally
disturbed person (EDP). As such the sergeant should understand:

   4. What is an EDP?
   5. What is the Zone of Safety?
   6. What are the procedures the sergeant is responsible for acting as the patrol
      supervisor?

More in depth procedures and hands on scenarios are covered in the EDP workshop
at John Jay College




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                                                                                             DEF 3229
LESSON:                                                                                    INSTRUCTOR
Emotionally Disturbed Persons                                                              CUES:


                                        BODY



  I.      WHAT IS AN EDP?

EMOTIONALLY DISTURBED PERSON (EDP) - A person who appears to be mentally
ill or temporarily deranged and is conducting himself in a manner which a police officer
reasonably believes is likely to result in serious injury to himself or others.

 II.      ZONE OF SAFETY -

          The distance to be maintained between the EDP and the responding
          member(s) of the service. This distance should be greater than the effective
          range of the weapon (other than a firearm), and it may vary with each
          situation (e.g., type of weapon possessed, condition of EDP, surrounding
          area, etc.). A minimum distance of twenty (20) feet is recommended. An
          attempt will be made to maintain the "zone of safety" if the EDP does not
          remain stationary.

WHEN THE PATROL SUPERVISOR IS REQUESTED TO RESPOND TO A
EDP:

III.      THE PATROL SUPERVISOR WILL:

       1. Verify that Emergency Service Unit is responding, if required.
             a. Cancel response of Emergency Service Unit if services not required.
       2. Direct uniformed members of the service to take EDP into custody if
          unarmed, not violent, and willing to leave voluntarily.




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                                                                                                   DEF 3230
LESSON:                                                                               INSTRUCTOR
Emotionally Disturbed Persons                                                         CUES:

WHEN AIDED IS ISOLATED/CONTAINED BUT WILL NOT LEAVE
VOLUNTARILY:

  1. Establish firearms control.
         a. Direct members concerned not to use their firearms or use any other
             deadly physical force unless their lives or the life of another is in
             imminent danger.
  2. Deploy protective devices (shields, etc.).
  3. Comply with provisions of P.G. 212-38, "Hostage/Barricaded Person(s),"
     where appropriate.
  4. Establish police lines if not already done.
  5. Request response of hostage negotiation team and coordinator through
     Communications Section.
  6. Notify desk officer that hostage negotiation team and coordinator have been
     notified and request response of precinct commander/duty captain.
  7. Request Emergency Service Unit on scene to have supervisor respond.
  8. If necessary, request assistance of:
         a. Interpreter, if language barrier
         b. Subject's family or friends
         c. Local clergyman
         d. Prominent local citizen
         e. Any public or private agency deemed appropriate for possible assistance




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                                                                                              DEF 3231
LESSON:                                                                              INSTRUCTOR
Emotionally Disturbed Persons                                                        CUES:

                                CONCLUSION

The primary duty of all members of the service is to preserve human life. The
safety of ALL persons involved is paramount in cases involving emotionally
disturbed persons. If such person is dangerous to himself or others,
necessary force may be used to prevent serious physical injury or death.
Physical force will be used ONLY to the extent necessary to restrain the
subject until delivered to a hospital or detention facility. Deadly physical force
will be used ONLY as a last resort to protect the life of the uniformed member
of the service assigned or any other person present. If the emotionally
disturbed person is armed or violent, no attempt will be made to take the EDP
into custody without the specific direction of a supervisor unless there is an
immediate threat of physical harm to the EDP or others are present. If an EDP
is not immediately dangerous, the person should be contained until assistance
arrives. If the EDP is unarmed, not violent and willing to leave voluntarily, a
uniformed member of the service may take such person into custody. When
there is time to negotiate, all the time necessary to ensure the safety of all
individuals will be used.




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                                                                                             DEF 3232
LESSON:                                                    iNSTRUCTOR
Emotionally Disturbed Persons                              CUES:




                      CITY OF NEW YORK POLICE DEPARTMENT        PAGES

                                                                   DEF 3233
                                  LESSON PLAN COVER SHEET

   "-"
COURSE: SLC Leadership Course                                      TRAINEE LEVEL:
                                                                   Probationary Sergeants
LESSON:                                                            TIME REQUIRED:
EDP Workshop at John Jay College                                   8 Hours
PREPARED BY:                                                       DATE PREPARED:
Officer of the Deputy Commissioner of Training Det. James          October, 2008
Shanahan -Senior Instructor
APPROVED BY:                                                       DATE APPROVED:
Lt. John Donnelly                                                  November 7, 2008
REVISED BY:                                                     DATE REVISED:
Sgt. Nicole Dean                                                11/14/11
TRAINING NEED
To familiarize probationary sergeants on how to interact with emotionally disturbed persons.
INSTRUCTIONAL GOAL:
At the conclusion of this lesson the probationary sergeant will be familiar with how to tactically
communicate with emotionally disturbed persons.
PERFORMANCE OBJECTIVES:

At the completion of this lesson the student will be able to:

   1. Identify symptoms which may categorize a person as an EDP.
   2. Identify and apply Patrol Guide procedures regarding non-violent custodial EDP's.
   3. Identify and explain resources for family members of ED P's.
   4. Employ proper tactics when confronting an EDP.




METHOD OF PRESENTATION                                             CLASSROOM REQUIREMENTS:
Role Play                                                          Seats
METHOD OF EVALUATION:
Instructor Critique and Clinical Evaluation
STUDENT MATERIAL:
Handouts

TRAINING AIDS, SUPPLIES, EQUIPMENT:                                BIBLIOGRAPHY:
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                                                                   group problem solving, Alan F Klein
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                              CITY OF NEW YORK POLICE DEPARTMENT

                                                                                                  DEF 3217
LESSON: EDP WORKSHOP                                                                    INSTRUCTOR
                                                                                        CUES:


                                INTRODUCTION


    This course has a unique design, construction and application. Firstly, police
trainers review basic instruction regarding police process, protocol, and procedure
Germane to the departments highly valued mission of providing care to persons
with emotional illness. Second, faculty members from John Jay College of
Criminal Justice who are licensed psychologists co-facilitate the training and
provide a crucial clinical underpinning to the body of work. Their vital contribution
imbues this course with credibility and advances the best practices of their
profession. Lastly, professional actors role play a variety of mental and emotional
illnesses as well as behavioral disorders that give trainees a sense of realism. This
method of instruction ha been referred to as 'structured improvisational' training.
The actor-trainers are able to recreate a variety of mental illness and emotional
disorders. They include: schizophrenia, depression, paranoia, bipolar conditions,
borderline personality disorder, as well as panic attacks. Additionally, the actor-
trainers portray family members, bystanders and other participants. The scenarios
are consistent with real experiences a Police Officer may encounter.

   The theme of this training is to promote the ability to successfully isolate and
contain an EDP while engaging in a tactically correct and tactfully sound process
designed to bring the entire episode to an equitable conclusion.

   The goal is to enhance the safety of all participants while operating in a manner
that maintains professional action that is aimed at reducing civilian complaints,
lawsuits, and stress. The complexity and difficulty of dealing with ED P's is
obvious and compels trainees to seek methods of remedy other than using physical
force. The scenarios feature the EDP's presenting conditions that define them as
dangerous to themselves or others yet, the overruling ambition of the training is to
encourage utilization of Tactical Communication Skills.

    Finally, and additional element that adds to the intention of this workshop is a
presentation by a representative of Life Net. This twenty-four hour referral system
is a welcomed addition as it speaks to the reality that often we are comfortably
leaving a call of service where the individual is not an active danger to themselves
or other. Life Net provides multilingual memo book insert that enable a UMOS to
make an onsite referral to a multitude of mental health providers.




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                                                                                                DEF 3218
LESSON: EDP WORKSHOP                                                                   INSTRUCTOR
                                                                                       CUES:




   Instruction takes three forms: telling, showing and doing. Telling techniques are
good when the subject matter is mainly information or attitude and is not complex.
Showing is good when the subject matter if information or attitude and is complex.
Doing is appropriate when teaching mental or physical skills. However, learning
goals are best met when all three forms are utilized in conjunction with each other.
Role plays are a very good way of maximizing the three forms of instruction. As an
interactive form ofleaming. Role plays allow the student to exhibit and apply what
they have learned as well as provide the instructor with the means to assess the
effectiveness of the learning process. Role plays also provide an alternative to
traditional classroom instruction and allow students to practice their craft with a
more "hands-on" perspective in a protected environment. For all of these reasons,
role plays are an extremely valuable formed tool for trainers and trainees.




                            CITY OF NEW YORK POLICE DEPARTMENT                              PAGE2

                                                                                               DEF 3219
LESSON: EDP WORKSHOP                                                                     INSTRUCTOR
                                                                                         CUES:


    I. SCHIZOPHRENIA


Recruit officers are assigned to respond to a noise complaint at an apartment wit a
neighbor as the complainant. As the officers knock on the door, they are greeted by
a male tenant who is dismayed and hesitant to allow them entry. After gaining
entry, the officers discover that there is a women kneeling on the floor with a
makeshift "barrier" surrounding her. The woman is upset and rambling
incoherently. The officers interview the tenant and are informed that the couple is a
husband and his wife. The husband tells the officers that his wife is schizophrenic
and is refusing to take her medicine. He also tells he officers that his wife believes
that the medicine is poison and he discovered that she has been throwing the pills in
the toilet for weeks. When questioned further, he tells the officer that when not on
medication, his wife hears voices (Charlie). The husband advises the officers that
the situation has happened frequently, and the police have responded before. The
husband tells the officers about the response of two particular officers, one who
was very helpful (Flanagan) and another whose response was callous, impatient,
and as a result injured his wife (Smith). The husband asks the officers if they know
or can get Flanagan to respond. To further complicate matters, the husband is
concerned with a new job that hi is late for. Subsequent approach and conversation
with the wife, she stated that the voice is telling her to jump out of the window. She
also states that the barrier is her zone of protection from people who she believes
are trying to get her.

OBJECTIVES
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non -violent custodial EDP situation.

   •   Officers should attempt to gain voluntary compliance from the wife to allow
       them to handcuff her and transport her to the hospital using various tactical
       communication and problem solving techniques.

   •   Officer should employ their victimology skills to assist the husband with his
       employment situation and a referral to LifeNet is recommended.

MOD ERATOR OBJECTIVES
  • Ensure that officers utilize proper tactics in the entry and interview of the
     participants.
  • With the assistance of the clinicians, use "scene break" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.




                             CITY OF NEW YORK POLICE DEPARTMENT                               PAGE3

                                                                                                 DEF 3220
LESSON: EDP WORKSHOP                                                                     INSTRUCTOR
                                                                                         CUES:

CLINICIANS OBJECTIVES
   • Highlight and explain some of the symptoms of schizophrenia and
      behavior.
   • Recommend communication strategies.
   • Briefly explain medical diagnosis and psychological treatment.


         IL MANIA/MANIC

Recruit officers are assigned to respond to a dispute at an apartment. As the officers
knock on the door, they are greeted by a woman who seems desperate and
concerned about her husband who is in another room (behind a closed door). The
woman claims that her husband has been acting erratic since the recent death of one
of his parents. The woman also tells the officers that for the past couple of days her
husband has not slept or has eaten anything. He is rambling incoherently (which is
audible through the door) and she has discovered that he has given their life savings
to a stranger, the husband believing he was buying a church. She also states that
this has never happened before and she feels helpless and does not know what to
do. During the interview with the wife. The husband walks out of the other room,
carrying a bible and wearing "priestly" clothing. His speech and mannerisms are
accelerated. His ramblings are concentrated on his belief that he is the light of god
and that he can resurrect the dead, illustrated by him telling one officer that they
can shoot or stab the other officer and he will bring them back to life. He also tests
the faith of the officers by asking if they can also see the light. Although his
mannerisms are accelerated, he does acknowledge the officers. He is compliant but
can only do what is asked of him for a brief moment. His desire is to go to a church
he believes he bought that is on Queens Boulevard. To further complicate matters,
the couple has a large dog as a pet this is locked in the bathroom, whose care
becomes a concern of the husband prior to going to the hospital.

OBJECTIVES:
  • Officers should illustrate and understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situations.
  • Officers should attempt to gain voluntary compliance from the husband to
     allow them to handcuff and transport him to the hospital using various
     tactical communication and problem solving techniques.
  • Officers should employ their victimology skills to assist the wife. A referral
     to LifeNet is recommended.

MOD ERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in the entry and interview of the
     participants.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.



                            CITY OF NEW YORK POLICE DEPARTMENT                                PAGE4

                                                                                                 DEF 3221
LESSON: EDP WORKSHOP                                                                       INSTRUCTOR
                                                                                           CUES:

CLINICIANS OBJECTIVES:
   • Highlight and explain some of the symptoms of mania/manic and behavior.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.


        III. Bi-Polar Disorder with Psychotic features

Officers are on patrol in a large park (Central Park) when they encounter an
apparent homeless man who is screaming into a garbage can. The homeless man's
clothing is disheveled and he appears to be having a conversation with different
"invisible" persons. On approach, the officers hear the homeless man claim that he
has captured the devil and has the devil trapped in the garbage can. The officers
also observed the man holding a wooden stick over the opening of the can. When
questioned, the homeless man claims he is a reverend and his mission is to keep the
devil trapped in the garbage can. He further state that the stick was anointed by god
and is the only thing that can keep the devil in the can. The man gets extremely
agitated when anyone approaches or he believes is getting too close. The man tells
the officers that he has been on this mission for multiple days. The homeless man
speaks with the officers but refuses to leave or let go of the stick for fear of the
devil escaping. He also stated that if the devil gets out. He will have to kill himself.
During the officers' conversation with the homeless man, he gets upset when a park
patron tires to walk through the zone of safety.

OBJECTIVES:
  • Officers should illustrate and understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situation.
  • Officers should attempt to isolate and contain the EDP.
  • Officers should attempt to gain voluntary compliance from the homeless
     man to allow them to handcuff and transport him to the hospital using
     various tactical communication and problem solving techniques.

MOD ERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in isolating and containing the
     homeless person.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.

CLINICIANS OBJECTIVE:
   • Highlight and explain some of the symptoms of Bi-Polar Disorder and
      behavior.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.




                             CITY OF NEW YORK POLICE DEPARTMENT                                 . PAGES

                                                                                                    DEF 3222
LESSON: EDP WORKSHOP                                                                     INSTRUCTOR
                                                                                         CUES:




        IV. MANIA/MANIC

Officers are on patrol when they encounter two people engaged in a dispute in from
of a store. The officers separate the two individuals and try to determine the cause
of the dispute. One person tells the officer that they are the owner of the store, and
that the other person has been standing in front of his store for the past few days
rambling incoherently and scaring away customers. The store owner is concerned
that he will lose customers if the other person remains. The other person is
apparently agitated and speaking extremely rapid. The officers find it difficult to
understand what the person is saying. After listening to the person for a moment
they begin to understand the person. This person believes that she/he is a general
and that the store owner is a terrorist and is hiding explosives in the canned goods
that are in the store. The "General" believes that his/her mission is to protect the
president from this danger, and if she/he fails this mission, will have to kill
themselves. The "General" also tells the officer that she/he has a schedule to keep
in order to secure the president's safety- at 3:00 PM they must be at the hotdog
stand in front of Bellevue Hospital, at 4:00 PM they have to be at Yankee Stadium,
at 5:00 PM they have to be at the Empire State Building. The EDP frequently asks
the officer to repeat the schedule. Although not violent, the EDP gets agitated when
the officers don't repeat the schedule correctly. The EDP becomes compliant when
the schedule is repeated correctly to him/her.

OBJECTIVES:
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situations.
  • Officers should attempt to isolate and contain the EDP.
   •   Officers should attempt to gain voluntary compliance from the store owner,
       removing him/her from the scene.
   •   Officers should attempt to gain voluntary compliance from the EDP to
       allow them to handcuff and transport them to the hospital using various
       tactical communication and problem solving techniques.


MOD ERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in separating and interviewing the
     persons in the dispute.
  • Ensure that officers utilize prober tactics in isolating and containing the
     EDP.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.


                            CITY OF NEW YORK POLICE DEPARTMENT                                PAGE6

                                                                                                 DEF 3223
LESSON: EDP WORKSHOP                                                                         INSTRUCTOR
                                                                                             CUES:


CLINICIANS OBJECTIVES:
   • Highlight and explain some of the symptoms of mania/manic and behavior.
   • Recommend communication strategies.
   • Briefly explain medical ahd psychological diagnosis and treatment.


         V. Borderline Personality Disorder

Officers are on patrol when they come upon a male and a female having a dispute
in from of a building. After separating the two. The officers begin their
investigation. The male tells the officer that he lives in the building and upon
coming home today saw the female (Monique) standing in front of his building.
The male state that he met Monique when he visited Boston a few weeks ago. He
tells the officer that they had a "one night stand" and although they exchanged
phone numbers, did not return any of her numerous calls. The male does not know
hoe she acquired his address, and is concerned that his wife may be coming home
soon and he does not want his wife to know what happened. The male also tell the
officer that he does not want Monique to contact him anymore. During the
interview with Monique, she confirms the encounter in Boston. Monique also
claims that their relationship is that of boyfriend and girlfriend. Monique tells the
officer that she came from Boston to surprise her boyfriend and continue their
relationship. During the interview, Monique displays a wide range of emotions.
From showing extreme anger toward he boyfriend to deep concern about him. She
claims that he is the love of her life, but is consistently flirting with the officers.
Monique also admits to self mutilation in times of despair, showing visible scars on
her forearm. After conferring with each other, the officers advise Monique that the
male does not want any contact with her and that she should leave. The officers
also tell her that if she refuses to leave or is she returns she may be subject to arrest.
Showing anger and frustration, Monique threatens suicide.

OBJECTIVES:
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situations.
  • Officers should attempt to isolate and contain the EDP.
  • Officers should attempt to gain voluntary compliance from the male,
     removing him from the scene.
  • Officers should explain options afforded to possible victims of domestic
     violence.
  • Officers should attempt to gain voluntary compliance from the EDP to
     allow them to handcuff and transport her to the hospital using various
     tactical communication and problem solving techniques.




                              CITY OF NEW YORK POLICE DEPARTMENT                                  PAGE1

                                                                                                     DEF 3224
LESSON: EDP WORKSHOP                                                                   INSTRUCTOR
                                                                                       CUES:


MOD ERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics in separating and interviewing the
     persons in the dispute.
  • Ensure that officers utilize proper tactics in isolating and containing the
     EDP.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
     to highlight, address, discuss and assist the officer to ensure a positive
     outcome.

CLINICIANS OBJECTIVES:
   • Highlight and 'explain some of the symptoms of Borderline Personality
      Disorder and behavior patterns.
   • Recommend communication strategies.
   • Briefly explain medical and psychological diagnosis and treatment.



        VI. DEPRESSION

Officers are assigned to respond to a suspicious person on a roof of a building.
When the officers arrive, they observe a person sitting on the edge of a scaffold.
                     I


Upon interviewing the person, the officers learn that the person has recently had a
personal medical/family catastrophe. The person feels emotionally and physically
drained and believes that this is the only option left for them. The person does
converse with the officer, but refuses to give them his/her name or to face the
officers. The person continuously requests the officer to leave and not to approach.

OBJECTIVES:
                   '
  • Officers should illustrate an understanding and compliance of Department
     Guidelines regarding non-violent custodial EDP situation.
  • Officer should attempt to isolate and contain EDP
  • Officers should attempt to gain voluntary compliance from the EDP to
     allow them to handcuff and transport them to the hospital using various
     tactical communication and problem solving techniques.

MODERATOR OBJECTIVES:
  • Ensure that officers utilize proper tactics and Patrol Guide procedures in
    isolating and containing EDP.
  • With the assistance of the clinicians, use "scene breaks" during the scenario
    to highlight, address, discuss and assist the officer to ensure a positive
    outcome.




                            CITY OF NEW YORK POLICE DEPARTMENT                              PAGES

                                                                                               DEF 3225
LESSON: EDP WORKSHOP                                                         INSTRUCTOR
                                                                             CUES:


CLINICIANS OBJECTIVE:
   • Highlight and explain some of the symptoms of Depression and behavior
     patterns.
   • Recommend communication strategies
   • Briefly explain medical and psychological diagnosis and treatment.




                         CITY OF NEW YORK POLICE DEPARTMENT                       PAGE9

                                                                                     DEF 3226
  Sergeant's Leadership Course
          Module Number:
Emotional Disturbed Persons Workshop
            Instructor Guide




                                       DEF 3191
                         Sergeants Leadership Course ·                                          -
                                                                                            '

•                                                                                           •
                       Module Number and EDP Workshop

                                           MODULE#
                                           SYNOPSIS

    Date Prepared: 03/13/14                             Date Reviewed/ Revised: 03/17/14
    Prepared By: Sgt. Christine Keeney
    Reviewed/Approved By: Lt. Patrick DeVito

    This module will provide the participant with the ability to supervise and manage
    situations involving Emotionally Disturbed Persons.

    Method of Instruction: RoU Play/ Lecture/ discussion/ question and answer

    Time Allocated: 8 Hours

    Training Need: To familiarize newly promoted sergeants with managing situations
    involving mentally ill/ emotionally disturbed persons.

    Terminal Learning Objective: At the completion of this module, participants will
    understand when a person is emotionally disturbed and how to manage situations
    involving EDPS.

    Learning Outcomes:
    1. Recognize the cognitive, behavioral, and emotional symptoms associated with
        various types of mental illness.
    2. Identify and execute an informed course of action in managing situations involving
        mentally ill or emotionally disturbed individuals.
    3. Supervising and directing resources on scene.
    4. Identify available resources and when to request such resources.
    5. Applying Patrol Guide procedures, when necessary.


    Required Reading: N/A

    Instructional Resources Required:
           PowerPoint projector
           Computer with monitor
           Classroom seating
           Table, chairs, common household items

    Evaluation Strategies:
          Observation of the level and quality of classroom participation.
          Outcome of classroom exercise.
          Instructor critique.
          Clinical evaluation.

    References:
    Patrol Guide procedure 216-05
    Managing Situations Involving Emotionally Disturbed Persons (Training Guide prepared
    by John Jay College)



    Module# - EDP Workshop                                   Sergeants Leadership Course            1

                                                                                            DEF 3192
      There are numerous situations involving a mentally ill / emotionally disturbed person
      that necessitates the response of members of the NYPD. Newly promoted sergeants
      are responsible to ensure: the safety of all involved and present; and that every
      attempt is made to achieve a safe and effective outcome, preferably achieving
      voluntary compliance from the emotionally disturbed/mentally ill person.

      The Uniformed Promotions Unit, in conjunction with professional psychologists of John
      Jay College and supported by the Department of Mental Health, will conduct              ·
      numerous roll plays. Students will participate in these role plays as supervisors at an
      incident involving emotionally disturbed person( s ). Professional improvisational actors
      will play the part of the EDPs and others involved. Sergeant/sergeant candidates will
      be critiqued of their outcomes.

      At the end of this lesson, sergeant/sergeant candidates will better be able to:

      1.   Recognize the cognitive, behavioral, and emotional symptoms associated with
           various types of mental illness.

      2.   Identify and execute an informed course of action in managing situations
           involving mentally ill or emotionally disturbed individuals.

      3.   Supervising and directing resources on scene.

      4.   Identify available resources and when to request such resources.

      5.   Applying Patrol Guide procedures, when necessary.




Instructor Notes:




       Module # - EDP Workshop                                   Sergeants Leadership Course        2

                                                                                                  DEF 3193
          I.     RECOGNIZE THE COGNITIVE, BEHAVIORAL, AND EMOTIONAL
                 SYMPTOMS ASSOCIATED WITH VARIOUS TYPES OF MENTAL ILLNESS.

          Students will be participating in various roll plays throughout the day involving various
          mental illnesses. Clinicians of John Jay College will identify various illnesses and their
          symptoms. Illnesses defined to the sergeant/sergeant candidates include:

                 A. Schizophrenia: A break from or distortion of reality in thoughts,
                    perceptions, and emotions. It may include delusions, hallucinations, and
                    social withdrawal. People with Schizophrenia often display inappropriate
                    or bizarre behavior and a flattened or restricted emotional response to
                    events.

          Roll Play: [Schizophrenia]
          Officers respond to a noise complaint at an apartment with a neighbor as the
          complainant. As the officers knock on the door, they are greeted by a male tenant
          who is dismayed and hesitant to allow them entry. After gaining entry, the officers
          discover that there is a woman kneeling on the floor with a makeshift "barrier"
          surrounding her. The woman is upset and rambling incoherently. The officers
          interview the tenant and are informed that the couple is a husband and his wife. The
          husband tells the officers that his wife is schizophrenic and is refusing to take her
          medicine. He also tells the officers that his wife believes that the medicine is poison
          and he discovered that she has been throwing the pills in the toilet for weeks. When
          questioned further, he tells the officer that when not on medication, his wife hears
          voices (Charlie). The husband advises the officers that the situation has happened
          frequently, and the police have responded before. The husband tells the officers
          about the response of two particular officers, one who was very helpful (Flanagan) and
          another whose response was callous, impatient, and as a result injured his wife
          (Smith). The husband asks the officers if they know or can get Flanagan to respond.
          To further complicate matters, the husband is concerned with a new job that he is late
          for. Subsequent approach and conversation with the wife, she stated that the voice is
          telling her to jump out of the window. She also states that the barrier is her zone of
          protection from people who she believes are trying to get her. Officers request the
          response of the patrol supervisor, who responds soon after the request.

                 Note: Sergeant Candidates determine their course of action. The actors
                 respond respectively of the decisions made by the patrol supervisor.




Instructor Notes:
Choose one (1) sergeant candidate to play the role of patrol supervisor; choose two (2) to play the role of
responding officers.
Instructors can "freeze" the roll play to assist or give direction to participant.
Objective is to obtain a peaceful outcome with voluntary compliance of removal of the EDP.
Clinicians and moderators will critique and evaluate roll play.



         Module# - EDP Workshop                                     Sergeants Leadership Course           3

                                                                                                       DEF 3194
                           Sergeants Leadership Course
                         Module Number and EDP Workshop



                B. Somatoform Disorders: Psychological disorders that show themselves in a
                   physical symptom of the body but for which there is no known or
                   discoverable physiological cause (i.e. People feel sick even when they
                   aren't physically sick).

                C. Dissociative Disorders: Disorders characterized by separation
                   (dissociation) of parts of the personality from the integrated whole person.
                   They include Dissociative Identify Disorder (aka Multiple Personality
                   Disorder), Amnesias, and Dissociative Fugue (amnesia for recent events or
                   lack of awareness of personal identify, followed by unexpected travel to
                   some far-off place and the assumption of a new identity). Persons may
                   temporarily lose their sense of personal identity and not feel like
                   themselves or not know themselves (or both).

                D. Mood Disorders, Depression, and Suicide: Disturbances in emotional
                   feelings strong enough to impair social, occupational, and daily functioning.
                   They include Depression, Mania, and Bipolar Disorders. Suicide is a major
                   risk facing people who are moderately or severely depressed. Many
                   times they function normally but, if a traumatic event or stressful situation
                   occ~rs (i.e. a failure, loss, or setback) they can easily start to contemplate
                   suicide as a way out rather than seek ways to cope with problems .. Also, if
                   medication is discontinued or is ineffective, a depressed person can
                   become suicidal. Suicide-prone people seek instant relief from the pain of
                   negative thoughts and hopelessness by using a long-term solution (self-
                   caused death) to a short-term problem. This is because depression tends
                   to create tunnel vision, in which sufferers cannot envision that problems
                   can go away and that things can get better.




Instructor Notes:




       Module # - EDP Workshop                                  Sergeants Leadership Course           4

                                                                                                    DEF 3195
                              Sergeants Leadership Course
                             Module Number and EDP Workshop



          Roll Play: [Mania/Manic]
          Officers respond to a dispute at an apartment. As the officers knock on the door, they
          are greeted by a woman who seems desperate and concerned about her husband
          who is in another room (behind a closed door). The woman claims that her husband
          has been acting erratic since the recent death of one of his parents. The woman also
          tells the officers that for the past couple of days her husband has not slept or has
          eaten anything. He is rambling incoherently (which is audible through the door) and
          she has discovered that he has given their life savings to a stranger, the husband
          believing he was buying a church. She also states that this has never happened
          before and she feels helpless and does not know what to do. During the interview
          with the wife the husband walks out of the other room, carrying a bible and wearing
          "priestly" clothing. His speech and mannerisms are accelerated. His ramblings are
          concentrated on his belief that he is the light of God and that he can resurrect the
          dead, illustrated by him telling one officer that they can shoot or stab the other officer
          and he will bring them back to life. He also tests the faith of the officers by asking if
          they can also see the light. Although his mannerisms are accelerated, he does
          acknowledge the officers. He is compliant but can only do what is asked of him for a
          brief moment. His desire is to go to a church he believes he bought that is on Queens
          Boulevard. To further complicate matters, the couple has a large dog as a pet that is
          locked in the bathroom, whose care becomes a concern of the husband prior to going
          to the hospital.

                  Note: Sergeant Candidates determine their course of action. The actors
                  respond respectively of the decisions made by the patrol supervisor.




Instructor Notes:
Choose one (1) sergeant candidate to play the role of patrol supervisor; choose two (2) to play the role of
responding officers.
Instructors can "freeze" the roll play to assist or give direction to participant.
Objective is to obtain a peaceful outcome with voluntary compliance of removal of the EDP.
Clinicians and moderators will critique and evaluate roll play.



         Module # - EDP Workshop                                   Sergeants Leadership Course            5

                                                                                                       DEF 3196
             -




                              Sergeants Leadership Course
                            Module Number and EDP Workshop



           Roll Play: [Bi-Polar Disorder with Psychotic features]
           Officers are on patrol in a large park (Central Park) when they encounter an apparent
           homeless man who is screaming into a garbage can. The homeless man's clothing is
           disheveled and he appears to be having a conversation with different "invisible"
           persons. On approach, the officers hear the homeless man claim that he has
           captured the devil and has the devil trapped in the garbage can. The officers also
           observed the man holding a wooden stick over the opening of the can. When
           questioned, the homeless man claims he is a reverend and his mission is to keep the
           devil trapped in the garbage can. He further states that the stick was anointed by God
           and is the only thing that can keep the devil in the can. The man gets extremely
           agitated when anyone approaches or he believes is getting too close. The man tells
           the officers that he has been on this mission for multiple days. The homeless man
           speaks with the officers but refuses to leave or let go of the stick for fear of the devil
           escaping. He also stated that if the devil gets out he will have to kill himself. During
           the officers' conversation with the homeless man, he gets upset when a park patron
           tires to walk through the zone of safety.

                   Note: Sergeant Candidates determine their course of action. The actors
                   respond respectively of the decisions made by the patrol supervisor.




Instructor Notes:
Choose one (1) sergeant candidate to play the role of patrol supervisor; choose two (2) to play the role of
responding officers.
Instructors can "freeze" the roll play to assist or give direction to participant.
Objective is to obtain a peaceful outcome with voluntary compliance of removal of the EDP.
Clinicians and moderators will critique and evaluate roll play.



         Module #;;., EDP Workshop                                 Sergeants Leadership Course            6

                                                                                                        DEF 3197
                              Sergeants Leadership Course
                             Module Number and EDP Workshop



           Roll Play: [Depression/Suicidal]
           Officers respond to a radio run of a disorderly person in front of a residential
           apartment building. Upon arrival, the officers encounter an intoxicated male with
           numerous empty alcohol containers, including one in the person's hand. The officers
           begin dialogue with the male as they request a bus to the scene. The male tells them
           to mark the job "10-90x". The supervisor responds to the scene and also converses
           with the male, who tells the UMOS that he lost his wife in the past and recently lost his
           son while he was at war overseas. He also informs the UMOS that he would like to go
           to his wife and that he is not going to the "farm" again because he has already been
           there three (3) times. The male has on his person his NYPD sergeant's shield and his
           firearm. If questioned, he admits to being and active UMOS himself and has 20+
           years "on the job':

                  Note: Sergeant Candidates determine their course of action. The actors
                  respond respectively of the decisions made by the patrol supervisor.




Instructor Notes:
Choose one (1) sergeant candidate to play the role of patrol supervisor; choose two (2) to play the role of
responding officers.
Instructors can "freeze" the roll play to assist or give direction to participant.
Objective is to obtain a peaceful outcome with voluntary compliance of removal of the EDP.
Clinicians and moderators will critique and evaluate roll play.



         Module # - EDP Workshop                                   Sergeants Leadership Course            7

                                                                                                       DEF 3198
                           Sergeants Leadership Course
                          Module Number and EDP Workshop




             D. Personality Disorders: A set of inflexible, maladaptive traits and behavior
                patterns that prevent proper functioning in society. They include Antisocial,
                Borderline, and Narcissistic Personality Disorders. ·

             E. Anxiety Disorders: Disorders characterized by overwhelming feelings of
                apprehension, worry, fear, and impending doom. They include Phobias, Panic
                Attacks, Generalized Anxiety Disorders, Obsessive Compulsive Disorders,
                Post-Traumatic Stress Disorder, etc.

             F. Childhood Disorders: Psychological disorders that appear in childhood, such
                as Attention Deficit Hyperactivity Disorder or Autism Spectrum Disorder.

             G. Other Disorders: These are widespread and include substance use, eating,
                sexual, and organic disorders.




Instructor Notes:




       Module # - EDP Workshop                                  Sergeants Leadership Course       8

                                                                                                DEF 3199
                             Sergeants Leadership Course
                           Module Number and EDP Workshop


                                                                                        Leaming
                                                                                        Outcome#2
                                                                                        Ensure-that an
                                                                                        informed course of
                                                                                        action Js f!Xecuted.



         II.     IDENTIFY AND EXECUTE AN INFORMED COURSE OF ACTION IN
                 MANAGING SITUATIONS INVOLVING MENTALLY ILL OR EMOTIONALLY
                 DISTURBED INDIVIDUALS.

          111.   Assess for any danger to self or others.
                    1. Are there possible weapons on or near the EDP?
                    2. Is the EDP in close proximity to a door or window?

          IV.    Direct resources to gather information. Resources can include UMOS on
                 scene, family members, neighbors, etc.

           V.    Ensure that there is an open line of communication (or attempt thereof) to the
                 EDP/mentally ill person. In order to achieve voluntary compliance, ensure the
                 police officer is utilizing the skills of communication (verbal and non-verbal),
                 active listening, and persuasion. Some active listening techniques include
                 paraphrasing, encouraging, emotional labeling, mirroring and summarizing.
                 When one actively listens to a person, that person tends to listen more to
                 themselves and are better able to communicate what they are thinking and
                 feeling. Active listening also can decrease argumentativeness and prime
                 others to incorporate the other points of view.




Instructor Notes:




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         VI.    SUPERVISING AND DIRECTING RESOURCES ON SCENE

                Supervisors on the scene of incidents involving EDPs and mentally ill persons
                are to ensure that all resources are being used to obtain the goal, voluntary
                compliance. Resources are including but not limited to:

                    A. UMOS on scene
                    B. Family members
                    C. Friends/neighbors
                    D. Etc.

               Supervisors should direct officers to gather information and handle the situation;
               supervisors should refrain from handling the situation personally, unless
               exceptional circumstances exist.




Instructor Notes:




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                          Module Number and EDP Workshop

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         IV.   IDENTIFYING AVAILABLE RESOURCES AND WHEN TO REQUEST SUCH
               RESOURCES.

               Supervisors have various resources that can assist during situations involving
               EDP/mentally ill persons. Resources include but are not limited to:

                     A Family/friends/neighbors
                      B. Local clergyman
                    · C. Any public or private agency deemed appropriate for possible
                         assistance.
                      D. ESU


               The objective is to have the EDP voluntary comply with the direction of the
               supervisor. In the event of non voluntary and/or barricaded EDP, resources
               that should be used are, but not limited to:

                     E. Hostage and negotiations team
                     F. Commanding Officer/Duty Captain




Instructor Notes:




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           V.   APPL YING PATROL GUIDE PROCEDURES WHEN NECESSARY

                    A. Establish firearms control

                    B. Deployment of protective devices

                    C. Establishing police lines




Instructor Notes:




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                              Sergeants Leadership Course
        1                    Module Number and EDP Workshop
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            Supervisors will respond to numerous incidents/situations involving EDPs/mentally ill
            persons. The main objective should be to obtain voluntary compliance. This
            workshop will assist supervisors with information and tactics to help obtain that goal.

            A representative of Life Net will also be present to give new supervisors an additional
            resource. Life Net is a twenty-four hour referral system for individuals who may need
            assistance but do not pose a threat to themselves or others. Life Net provides
            multilingual memo book insert that enable a UMOS to make an onsite referral to a
            multitude of mental health providers.


            Review:

                  1.   Identify cognitive, behavioral, and emotional symptoms associated with
                       various types of mental illness.

                  2.   Explain an informed course of action to execute when managing a situation
                       involving mentally ill or emotionally disturbed individual.

                  3.   Explain how to supervise and direct resources on scene.

                  4.   Identify available resources and when to request such resources.

                  5.   Explain when to apply Patrol Guide procedures.




Instructor Notes:




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